            Case 2:22-cv-00389-DCN Document 21 Filed 12/29/22 Page 1 of 4




1
     Andrew M. Wagley, ISB #10277
2    Samir Dizdarevic-Miller, ISB #11471
3    ETTER, McMAHON, LAMBERSON,
4    VAN WERT & ORESKOVICH, P.C.
5
     618 W. Riverside Avenue, Suite 210
     Spokane, WA 99201
6
     Phone: 509-747-9100
7    Fax:    509-623-1439
8    Email: awagley@ettermcmahon.com
9    Email: samir@ettermcmahon.com
10   Attorneys for Plaintiff Cody J. Schueler
11
                          UNITED STATES DISTRICT COURT
12                    DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
16
                          Plaintiff,            Case No. 2:22-cv-00389-DCN
17
          v.
18                                               DECLARATION OF ANDREW
19   FOUR SQUAREBIZ, LLC, a                      M. WAGLEY IN SUPPORT OF
20   Wyoming limited liability company,          MOTIONS FOR DEFAULT
21
     KEITH O. CREWS, an individual and
     the associated marital community,
22
     MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26                        Defendants.
27
28
          I, Andrew M. Wagley, hereby declare the foregoing is true and correct:
29
30        1.      I am over the age of eighteen and competent to testify regarding the
31
32
                  matters stated herein.


       Declaration of Andrew M. Wagley in         ETTER, MCMAHON, LAMBERSON,
       Support of Motions for Default—Page 1      VAN WERT & ORESKOVICH, P.C.
                                                         618 WEST RIVERSIDE AVENUE, SUITE 210
                                                     SPOKANE, WASHINGTON 99201 (509) 747-9100
          Case 2:22-cv-00389-DCN Document 21 Filed 12/29/22 Page 2 of 4




1
        2.      I am attorney of record for Plaintiff, Cody Schueler. I make this
2
3               Declaration in Support of Plaintiff’s accompanying Motion(s) for
4
5
                Default against Defendants Keith Crews and Four SquareBiz, LLC.
6
        3.      This lawsuit was initiated via Complaint filed on September 12,
7
8               2022. The Complaint is located at ECF No. 1 in the Court File.
9
10      4.      Defendant Keith Crews was personally served on September 15,
11
                2022. The Affidavit of Service is located at ECF No. 8.
12
13      5.      Defendant Four SquareBiz, LLC was served via its registered agent
14
15              on September 28, 2022. The Proof of Service is located at ECF No.
16
                7. Registered Agents Inc. is listed as Four SquareBiz’s registered
17
18              agent on the Wyoming Secretary of State website. Attached hereto
19
20              as Exhibit A is a true and correct copy of a printout from the State of
21
                Wyoming, Secretary of State, Business Division website.
22
23      6.      As indicated in the various Bitcoin Loan Agreements, Defendant
24
25              Keith Crews represented himself as the Chairman of Four SquareBiz,
26
                LLC at all times pertinent to this litigation.
27
28      7.      To date, Defendants Keith Crews and Four SquareBiz, LLC have not
29
30              formally appeared, filed an Answer, or otherwise attempted to
31
32
                defend this litigation.


     Declaration of Andrew M. Wagley in            ETTER, MCMAHON, LAMBERSON,
     Support of Motions for Default—Page 2         VAN WERT & ORESKOVICH, P.C.
                                                          618 WEST RIVERSIDE AVENUE, SUITE 210
                                                      SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 21 Filed 12/29/22 Page 3 of 4




1
          8.      Attached hereto as Exhibit B is a true and correct printout of email
2
3                 correspondence between myself, Keith Crews, and Micah Eigler. On
4
5
                  December 2, 2022, I emailed Mr. Crews the following:
6
                          It is still not clear whether you anticipate participating
7                         on behalf of yourself only or both you and Four
8                         SquareBiz. Please clarify. Also, we anticipate moving
9                         for a default soon if you do not formally appear and
10                        participate in the litigation. As discussed multiple times
                          before, a lot of money is on the line and it is advisable
11
                          that you obtain an attorney.
12
13                (Ex. B at p. 1.) To date, no response has been received regarding
14
15                this email and no attorney has appeared on behalf of Defendants.
16
          9.      Based upon the foregoing, good cause exists to grant Plaintiff’s
17
18                Motion(s) for Default. This request is made approximately three
19
20                months after service and following multiple opportunities for
21
                  Defendants Crews and Four SquareBiz to appear and meaningfully
22
23                participate in this litigation.
24
25        I hereby declare the foregoing is true and correct under penalty of perjury
26
     of the laws of the United States of America.
27
28        EXECUTED this 29th day of December, 2022 in Spokane, WA.
29
30
31                                             By: /s/ Andrew M. Wagley
32
                                                  Andrew M. Wagley


       Declaration of Andrew M. Wagley in            ETTER, MCMAHON, LAMBERSON,
       Support of Motions for Default—Page 3         VAN WERT & ORESKOVICH, P.C.
                                                            618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 21 Filed 12/29/22 Page 4 of 4




1
                                  CERTIFICATE OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the
4
5
     United States, that on the date given below, I caused to be served in the manner
6
     noted copies of the foregoing document upon the following parties:
7
8       Keith Crews                                      U.S. Mail
9       okcrews@yahoo.com                                Facsimile
10      1503 Scenic Overlook Court                       E-Mail
        Kennesaw, GA 30152                               Via Hand Delivery
11
12
        Micah Eigler
13      eigler1@gmail.com                                U.S. Mail
14      6208 Enfield Avenue                              Facsimile
15      Los Angeles, CA 91316                            E-Mail
16      PO Box 9042                                      Via Hand Delivery
17
        Calabasas, CA 91372
18
        Four SquareBiz, LLC
19                                                       U.S. Mail
        okcrews@4squarebiz.com
                                                         Facsimile
20      C/o Registered Agents Inc.
                                                         E-Mail
21      30 North Gould Street, Suite R
        Sheridan, WY 82801                               Via Hand Delivery
22
23
24        EXECUTED this 29th day of December, 2022 in Spokane, Washington.
25
26
27                                         By:/s/ Jodi Dineen
                                              Jodi Dineen
28
29
30
31
32


       Declaration of Andrew M. Wagley in               ETTER, MCMAHON, LAMBERSON,
       Support of Motions for Default—Page 4            VAN WERT & ORESKOVICH, P.C.
                                                              618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
